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 5
                                 UNITED STATES DISTRICT COURT
 6
                                     DISTRICT OF NEVADA
 7
      ALL BUILDING AND PROPERTY                   Case No. : . 3:21-cv-00400-LRH-WGC
 8    SERVICES, INC., a Nevada corporation,
 9                 Plaintiff,
      v.                                          ORDER GRANTING UNOPPOSED
10                                                MOTION TO EXTEND TIME TO
      ROBERT E. POOLE, TRUSTEE                    RESPOND TO DEFENDANT
11    DOROTHY D. POOLE TRUST;                     SECRETARY OF HOUSING AND
      DOROTHY D. POOLE, TRUSTEE                   URBAN DEVELOPMENT’S MOTION
12    DOROTHY D. POOLE TRUST;                     TO DISMISS
      DOROTHY D. POOLE TRUST;
13    VISTA POINTE HOMEOWNERS                     [FOURTH REQUEST]
      ASSOCIATION, a Nevada Non Profit
14    Cooperative Corporation;
      LEACH KERN GRUCHOW ANDERSON
15    SONG, LTD., a Nevada Limited Liability
      Company,
16    SECRETARY OF HOUSING AND
      URBAN DEVELOPMENT;
17    DOES 1 through 10, inclusive;
18                 Defendants.
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     Case 3:21-cv-00400-LRH-WGC Document 20 Filed 11/23/21 Page 2 of 2




 1          Comes now Plaintiff ALL BUILDING AND PROPERTY SERVICES, INC., by and

 2   through its attorney, Kerry P. Faughnan, Esq, who moves for a fourth extension of time for
 3   Plaintiff’s response to HUD’s Motion to Dismiss [ECF#6], filed September 28, 2021, currently
 4
     with a response due November 23, 2021, for two weeks, to December 7, 2021.
 5
            The parties are awaiting HUD’s response to Plaintiff’s settlement proposal previously
 6
     made November 12, 2021, and unfortunately HUD has not yet responded despite the parties
 7

 8   previously believing in their prior stipulation that the previous extension would be sufficient for

 9   a response.

10            HUD’s counsel Ms. Vance by email directed Plaintiff to make this additional request
11
     for extension of time as the parties await a response, to which she stated she does not oppose.
12
            Three previous, two week request to extend have been granted, the most recent being
13
     granted as ECF #16.
14
            DATED November 23, 2021,
15

16
                                                   /s/ Kerry P. Faughnan__
17                                                 Kerry P. Faughnan, Esq., NSB 12204
                                                   P.O. Box 335361
18                                                 North Las Vegas, Nevada 89033
                                                   (702) 01-3096 3
19
                                                   (702) 331-4222- Fax
20                                                 Kerry.faughnan@gmail.com

21                                                 Attorney for Plaintiff

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23                                                 IT IS SO ORDERED.

24

25
                                                   LARRY R. HICKS
26                                                 U.S. DISTRICT COURT JUDGE
27                                                 DATED: November 23, 2021.
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